                       IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                              CASE NO. 5:19-cv-00427-BO

 NOKIA TECHNOLOGIES OY,                           )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )
                                                  )
 LENOVO (SHANGHAI)                                )
 ELECTRONICS TECHNOLOGY CO.                       )
 LTD.; LENOVO GROUP, LTD.;                        )
 LENOVO BEIJING, LTD.; LENOVO PC                  )
 HK LIMITED; LENOVO (UNITED                       )
 STATES), INC.                                    )
                                                  )
        Defendants.

                     NOTICE OF SPECIAL, LIMITED APPEARANCE

       NOW COMES the undersigned, Jacob S. Wharton, and hereby enters a special, limited

appearance as counsel for Lenovo (Beijing) Limited, for the sole purpose of contesting process,

service of process, and personal jurisdiction.

       Pursuant to Fed. R. Civ. P. 5, copies of all correspondence and pleadings should be mailed

to the undersigned at the address below or by electronic filing notification.



This the 18th day of August, 2020.

                                      WOMBLE BOND DICKINSON (US) LLP

                                      /s/ Jacob S. Wharton
                                      Jacob S. Wharton, NCSB No. 37421
                                      One West 4th Street
                                      Winston-Salem, North Carolina 27101
                                      Telephone: (336) 747-6609
                                      E-mail: jacob.wharton@wbd-us.com
                                      Attorneys for Defendant Lenovo (Beijing) Limited




          Case 5:19-cv-00427-BO Document 81 Filed 08/18/20 Page 1 of 2
                                  CERTIFICATE OF SERVICE

        I hereby certify that on this day, the foregoing Notice of Special, Limited Appearance was
electronically filed with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

 Matthew P. McGuire
 Alston & Bird LLP
 555 Fayetteville Street, Ste. 600
 Raleigh, NC 27601

 Thomas G. Walker
 Alston & Bird LLP
 101 South Tryon St., Ste. 4000
 Charlotte, NC 28280


       This the 18th day of August, 2020.


                                     WOMBLE BOND DICKINSON (US) LLP

                                     /s/ Jacob S. Wharton
                                     Jacob S. Wharton, NCSB No. 37421
                                     One West 4th Street
                                     Winston-Salem, North Carolina 27101
                                     Telephone: (336) 747-6609
                                     E-mail: jacob.wharton@wbd-us.com
                                     Attorneys for Defendant Lenovo (Beijing) Limited




                                                2

          Case 5:19-cv-00427-BO Document 81 Filed 08/18/20 Page 2 of 2
